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                                     EXHIBIT 61

                                 Initial Benchmark Assessment Report

                                               July 12, 2007


          This report to Congress is submitted consistent with Section 1314 of the U.S. Troop
          Readiness, Veterans’ Care, Katrina Recovery, and Iraq Accountability
          Appropriations Act, 2007 (Public Law 110-28) (the “Act”). It includes an assessment
          of how the sovereign Government of Iraq is performing in its efforts to achieve a
          series of specific benchmarks contained in the Act, as well as any adjustments to
          strategy that may be warranted in light of that performance. This is the first of two
          reports to be submitted consistent with the Act and has been prepared in consultation
          with the Secretaries of State and Defense; Commander, Multi-National Forces-Iraq;
          the United States Ambassador to Iraq; and the Commander of United States Central
          Command, consistent with Section 1314(b)(2)(B) of the Act. This assessment
          complements other reports and information about Iraq provided to the Congress and
          is not intended as a single source of all information about the combined efforts or the
          future strategy of the United States, its Coalition Partners, or Iraq.

          Introduction

          Section 1314 of the U.S. Troop Readiness, Veterans’ Care, Katrina Recovery, and Iraq
          Accountability Appropriations Act, 2007 (Public Law 110-28) states that the President is
          to submit to Congress two reports assessing the status of each of the 18 benchmarks
          contained in the Act and declaring whether, in the President’s judgment, satisfactory
          progress is being achieved with respect to those 18 benchmarks.

          These benchmarks relate to Government of Iraq actions believed to be important to
          advance reconciliation within Iraqi society, to improve the security of the Iraqi
          population, to provide essential services to the population, and to promote its economic
          well-being. These efforts complement other U.S. and Iraqi collaborative actions as part
          of the New Way Forward.

          Current U.S. Strategy: New Way Forward

          Current U.S. strategy -- the New Way Forward -- recognizes that the fulfillment of
          commitments by both the U.S. and Iraqi Governments will be necessary to achieving our
          common goal: a democratic Iraq that can govern, defend, and sustain itself, and be an
          ally in the War on Terror. The building of a strong strategic partnership with the Iraqi
          Government will be an important part of the effort to achieve this end state, which




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          complement of surge forces arrived in Iraq. The full surge in this respect has only just
          begun.

          These new operations are targeting primarily al-Qaida in Iraq (AQI) havens in Baghdad,
          Babil, Diyala, and Anbar provinces. While AQI may not account for most of the
          violence in Iraq, it is the organization responsible for the highest profile attacks, which
          serve as a primary accelerant to the underlying sectarian conflict. We presently assess
          that degrading AQI networks in these critical areas -- together with efforts to degrade
          Iranian-backed Shi’a extremist networks -- is a core U.S. national security interest and
          essential for Iraq’s longer-term stability. Since January of this year, AQI has proven its
          resiliency and ability to conduct high-profile, mass-casualty attacks, mostly targeting
          Shi’a population centers through suicide vehicle-borne improvised explosive device
          (SVBIEDs) attacks. The number of suicide and SVBIED attacks in March and April
          approached all-time highs, further exacerbating sectarian tension and making political
          deals more difficult to close. These incidents have shown a decrease in May and June,
          which may be the result of aggressive Coalition and Iraqi operations into former AQI
          havens. The surge of additional U.S. forces into these areas allows us to better combat
          AQI and other terrorists. We should expect, however, that AQI will attempt to increase
          its tempo of attacks as September approaches -- in an effort to influence U.S. domestic
          opinion about sustained U.S. engagement in Iraq.

          In Baghdad, an overall decrease in sectarian violence is due in part to intensified Iraqi
          and Coalition operations focused on population security. An apparent decision earlier
          this year by the Jaysh al-Mahdi (JAM) militia to largely stand down its operations
          appeared to have a temporary effect, but a breakdown in Muqtada al Sadr’s ability to
          control JAM -- or elements thereof -- coinciding with the return of JAM fighters from
          Iran after receiving training in combat and explosives has spawned a recent increase in
          attacks on Coalition and Iraqi forces. Iran continues to train, fund, and equip extremist
          groups, both Shi’a and Sunni, that attack Iraqi and Coalition forces in and around
          Baghdad and the provinces in southern Iraq. JAM “secret cells” are a major recipient of
          that assistance -- and are responsible for some of the most sophisticated attacks on Iraqi
          and Coalition Forces. As stated in the President’s January 10, 2007, speech announcing
          the New Way Forward: “We will interrupt the flow of support from Iran. And we will
          seek out and destroy the networks providing advanced weaponry and training to our
          enemies in Iraq.” Operations against these networks are ongoing and will continue.

          In Anbar province, the local population is turning against AQI and seeking support from
          the Coalition. At the same time, U.S. military operations and cooperation with local
          tribal leaders have created openings for local political compromise and more effective
          civilian assistance. To reinforce these early signs of success, the President ordered
          additional U.S. military and civilian resources to Anbar. The trends have remained
          positive. The provincial government -- for the first time in a year -- is now able to meet
          in the province and recently approved a comprehensive provincial budget that
          appropriates virtually all of its $107 million allocation for capital expenditures. Attack
          levels have reached a 2-year low and some families that had fled Anbar are beginning to
          return. These developments have been noted in other primarily Sunni areas of Iraq, such


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